     Case 0:24-mj-06075-JMS Document 1 Entered on FLSD Docket 02/19/2024 Page 1 of 4

AO 91 (Rev. 08/09) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Southern District of Florida

                  United States of America                            )
                                V.                                    )
                                                                      )      Case No.     24-MJ-6075-STRAUSS
                  AMIEL JOSEPH TRAZO,                                 )
                                                                      )
                                                                      )
                            Defendant(s)


          CRIMINAL COMPLAINT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 17, 2024,             in the county of               Broward              in the

      Southern          District of               Florida          , the defendant(s) violated:

              Code Section                                                      Offense Description
  18 U.S.C. § 2252(a)(1)                                Transportation of Child Pornography                                     AT
  18 U.S.C. § 2252(a)(4)(B)                             Possession of Child Pornography


                                                                                                                 Feb 17, 2024

                                                                                                                                 FTL

           This criminal complaint is based on these facts:

           SEE ATTACHED AFFIDAVIT.




           fd Continued on the attached sheet.
                                                                                                                            '

                                                                                                         --Mo..~
                                                                                                  Complainant's signa

                                                                                        Michelle Maglione, HSI Special Agent
                                                                                                   Printed name and title


                                                                                           FaceTime
  Attested to by the Applicant in accordance with the requirements ofFed.R.Crim.P. 4.1 by -~-~==------

  Date: February 17, 2024
                                                                                                     Judge's signature

  City and state:                       Fort Lauderdale, Florida                      Jared M. Strauss, U.S. Magistrate Judge
                                                                                                   Printed name and title
Case 0:24-mj-06075-JMS Document 1 Entered on FLSD Docket 02/19/2024 Page 2 of 4



                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Michelle Maglione, being first duly sworn, hereby depose and state as follows:

                                        INTRODUCTION

       1.      This affidavit is being submitted in support of a criminal complaint which charges

Amiel Joseph Trazo with a violation of Title 18, United States Code, Sections 2252(a)(1)

(transportation of child pornography) and 2252(a)(4)(B) (possession of child pornography).

       2.      I am employed as a Special Agent with the Department of Homeland Security (DHS),

Immigration and Customs Enforcement (ICE), Homeland Security Investigations (HSI). In my

current position as an HSI Special Agent, I am assigned to the Internet Crimes Against Children

(“ICAC”) Task Force and am responsible for conducting child exploitation investigations.

Specifically, I investigate crimes relating to the sexual exploitation of children, including but not

limited to the enticement and attempted enticement of a minor to engage in sexual criminal activity,

as well as the production, transportation, distribution, receipt, and possession of child pornography,

in violation of Title 18, United States Code, Sections 2422(b), 2251, 2252, and 2252A.

       3.      As an HSI Special Agent, I have received training in how to conduct child exploitation

investigations, and I have both conducted and assisted in such investigations. As a part of my duties,

I have observed and reviewed numerous examples of child pornography, as defined in Title 18, United

States Code, Section 2256, in all forms of media, including computer media. I am familiar with the

tactics used by individuals who collect and distribute child pornographic material.

       4.      I submit this Affidavit based on information known to me personally from the

investigation, as well as information obtained from others who have investigated the matter or have

personal knowledge of the facts herein. Because this Affidavit is being submitted for the limited

purpose of establishing probable cause for the requested warrant, it does not include every fact known

to me about this matter.
Case 0:24-mj-06075-JMS Document 1 Entered on FLSD Docket 02/19/2024 Page 3 of 4


                                       PROBABLE CAUSE

                                            Background

       5.      The National Center of Missing and Exploited Children (NCMEC) works with law

enforcement, Internet Service Providers, electronic payment service providers, and others to reduce

the distribution of child sexual exploitation images and videos over the Internet. In doing so, it

operates Child Victim Identification Programs to assist law enforcement in identifying victims of

child pornography and child sexual exploitation. In addition, NCMEC generates investigative leads,

known as “CyberTips,” to assist law enforcement in identifying perpetrators of this type of crime.

       6.      Law enforcement received a total of nine (9) CyberTips from NCMEC associated with

crew member, Amiel Joseph Trazo, who was employed on Disney Dream cruise ship, for receipt of

child sexual abuse material (CSAM).

       7.      On or about January 17, 2024, Amiel Joseph Trazo, a citizen of the Republic of the

Philippines, working as crew member aboard Disney Dream cruise ship, arrived at Port Everglades

Florida, located in Broward County, Florida. Law enforcement approached Trazo and conducted a

border search of his electronic devices. Trazo was in possession of an iPhone 15 Pro Max and an

iPhone 7 Plus. Law enforcement conducted a cursory search of Trazo’s iPhone 15 Pro Max after

Trazo provided the password to the device. During their inspection, two videos of child pornography

were discovered:

   •   The first video is approximately 44 seconds in duration and depicts a female child
       that is approximately 12-14 years of age wearing a robe and exposing her breasts
       and vagina. The child then touches her vagina and lifts her leg exposing her vagina.
   •   The second video is approximately 8 minutes and 39 seconds in duration and
       depicts a nude female child that is approximately 6-8 years of age. The child's
       vagina is exposed, while an adult's hand begins to touch and manipulate it. Also
       during the video there is an adult male who attempts to insert his penis into the
       child's vagina after rubbing his penis on the vagina. At approximately 3 minutes
       and 40 seconds into the video, the adult male penetrates the child's vagina, at which
       time blood is seen coming out of the vagina and on the penis.



                                                  2
Case 0:24-mj-06075-JMS Document 1 Entered on FLSD Docket 02/19/2024 Page 4 of 4



         8.       Law enforcement conducted a full forensic review of Trazo's iPhone and discovered

  additional videos and images of CSAM to include an image of a female approximately 10-14 years

  of age. The child is naked leaning over a naked adult male on a bed. The female child is holding the

  adult male erect penis performing oral sex.

                                            CONCLUSION

         Based on the aforementioned facts, I respectfully submit that there is probable cause to support

  the arrest of Amiel Joseph Trazo for committing a violation of Title 18, United States Code, Sections

  2252(a)(l) (transportation of child pornography) and 2252(a)(4)(B) (possession of child

  pornography).

  FURTHER YOUR AFFIANT SAYETH NAUGHT.



                                                SPECIAL AGENT MICHE MAGLIONE
                                                HOMELAND SECURITY INVESTIGATIONS

  Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
     FaceTime
  by ___       _.,,____ on this __   17th day of _  February
                                                     __� 2024.


  JARE        . STRAUSS
  UNIT        STATES MAGISTRATE JUDGE




                                                    3
